                                                                                           Case 2:20-cv-01125-PJW Document 1 Filed 02/04/20 Page 1 of 10 Page ID #:1




                                                                                            1 Carol Lynn Finklehoffe. CA Bar No. 220309

                                                                                            2 LIPCON MARGULIES ALSINA & WINKLEMAN
                                                                                                One Biscayne Tower, Suite 1776
                                                                                            3 Miami, FL 33131

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                                                                                            6 Attorneys for Plaintiff

                                                                                            7
                                                                                                                     UNITED STATES DISTRICT COURT
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                                                                                                                    CENTRAL DISTRICT OF CALIFORNIA
                                                                                            9
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




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                                                                                                EUGENE STREIM,                                 CASE NO.:
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                           11
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12               Plaintiff,                         PLAINTIFF’S COMPLAINT
                                                           MIAMI, FL 33131




                                                                                           13 vs.                                              AND DEMAND FOR JURY TRIAL
                                                                                           14
                                                                                                PRINCESS CRUISE LINES, LTD., a
                                                                                           15 corporation for profit, and DOES 1 - 10,

                                                                                           16
                                                                                                            Defendants.
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                                                                                                                     COMPLAINT AND DEMAND FOR JURY TRIAL
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                                                                                                      Plaintiff, EUGENE STREIM brings this action individually. This action is
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                                                                                           23 brought against Defendant PRINCESS CRUISE LINES, LTD. (hereinafter

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                                                                                                “PRINCESS”), for personal injuries sustained by Plaintiff EUGENE STREIM.
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                                                                                                Plaintiff, EUGENE STREIM seeks damages and demands a jury trial on all issues so
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                                                                                                triable against Defendant PRINCESS.
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                                                                                           28                              Complaint and Demand for Jury Trial
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                                                                                                                                       Jurisdiction
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                                                                                            2            1.   This action is an action under general maritime law and the laws of

                                                                                            3 California, as applicable.

                                                                                            4
                                                                                                         2.   The matter in controversy exceeds, exclusive of interests and costs, the
                                                                                            5

                                                                                            6 sum specified by 28 U.S.C. § 1332. In the alternative, if diversity jurisdiction does

                                                                                            7 not apply, then this matter falls under the admiralty and maritime jurisdiction of this

                                                                                            8
                                                                                                Court.
                                                                                            9
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                                                                                           10            3.   This action is being pursued in this Court, as opposed to state court as
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                                                                                           11 otherwise allowed by the Saving to Suitors Clause of 28 U.S.C. §1333, because
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                PRINCESS unilaterally inserts a forum selection clause into its cruise tickets that
                                                           MIAMI, FL 33131




                                                                                           13

                                                                                           14 requires its passengers to file cruise-related suits only in this federal district and

                                                                                           15 division, as opposed to any other place in the world.

                                                                                           16
                                                                                                         4.   Defendant PRINCESS, at all times material hereto, personally or through
                                                                                           17

                                                                                           18 an agent:
                                                                                           19
                                                                                                         a.   Operated, conducted, engaged in or carried on a business venture in this
                                                                                           20
                                                                                                              state and/or county or had an office or agency in this state and/or county;
                                                                                           21

                                                                                           22            b.   Was engaged in substantial activity within this state;
                                                                                           23
                                                                                                         c.   Operated vessels in the waters of this state;
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                                                                                                         d.   Purposefully availed themselves of the benefits of conducting activities
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                                                                                           26
                                                                                                              in California by purposefully directing their activities toward the state,

                                                                                           27                 thereby obtaining the benefits and protections of the state’s laws;
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                                                                                           28                                 Complaint and Demand for Jury Trial
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                                                                                                      e.     The acts of the Defendant set out in this Complaint occurred in whole or
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                                                                                            2                in part in this state and/or county;

                                                                                            3         f.     The cruise line ticket for the Plaintiff requires that suit be brought in this
                                                                                            4
                                                                                                             Court against the named Defendant in this action.
                                                                                            5

                                                                                            6         5.     The action is timely as the statute of limitations was extended through
                                                                                            7 February 10, 2020 by written agreement of the Parties.

                                                                                            8
                                                                                                                                       The Parties
                                                                                            9
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                                                                                           10         6.     Plaintiff was and is a resident of New York.
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                                                                                           11         7.     At all times material, Defendant PRINCESS was and is a for profit
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                corporation with its worldwide headquarters, principal address and principal place of
                                                           MIAMI, FL 33131




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                                                                                           14 business located in the County of Los Angeles.

                                                                                           15         8.     At all times material, Defendant PRINCESS was and is a common
                                                                                           16
                                                                                                carrier engaged in the business of marketing, selling and operating a cruise line out of
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                                                                                           18 various ports throughout the world including, Los Angeles, California and Fort
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                                                                                                Lauderdale, Florida.
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                                                                                                      9.     At all times material, Defendant PRINCESS derived substantial revenue
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                                                                                           22 from cruises originating and terminating in various ports throughout the world

                                                                                           23
                                                                                                including, Los Angeles, California and Fort Lauderdale, Florida.
                                                                                           24
                                                                                                      10.    At all times material, Defendant PRINCESS operated, managed,
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                                                                                           26
                                                                                                maintained, supervised, chartered, and/or controlled a large commercial vessel named

                                                                                           27 Regal Princess.
                                                                                                                                              3
                                                                                           28                                 Complaint and Demand for Jury Trial
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                                                                                                      11.    At all times material, Defendant PRINCESS transported fare-paying
                                                                                            1

                                                                                            2 passengers on cruises aboard its vessel Regal Princess.

                                                                                            3         12.    Plaintiff does not know the true names and capacities of Defendants sued
                                                                                            4
                                                                                                herein as DOES 1 – 10, inclusive, and therefore sues these Defendants by such
                                                                                            5

                                                                                            6 fictitious names. Plaintiff is informed and believes that each of the Doe Defendants

                                                                                            7 was in some manner legally responsible for the damages alleged below. The Plaintiff

                                                                                            8
                                                                                                will amend this Complaint to set forth the true and capacities when ascertained, along
                                                                                            9
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                                                                                           10 with the appropriate charging allegations.
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                                                                                           11         13.    Plaintiff is informed and believes, that all Defendants, including those
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                sued as DOES 1 – 10, were and are the agents, alter egos, partners, joint venturers,
                                                           MIAMI, FL 33131




                                                                                           13

                                                                                           14 principals, shareholders, servants, and employees and the like of their co-Defendants,

                                                                                           15 and in doing the things hereinafter mentioned, were acting in the course and scope of

                                                                                           16
                                                                                                their authority as such agents, alter egos, partners, joint venturers, principals,
                                                                                           17

                                                                                           18 shareholders, servants, and employees and the like with permission, ratification or
                                                                                           19
                                                                                                consent of their co-Defendants and thus are legally liable for the damages resulting
                                                                                           20
                                                                                                from the acts or omissions of the others.
                                                                                           21

                                                                                           22                                   General Allegations
                                                                                           23
                                                                                                      14.    At all times material, the Plaintiff was a fare paying passenger and
                                                                                           24
                                                                                                lawfully aboard the vessel Regal Princess.
                                                                                           25

                                                                                           26
                                                                                                      15.    On or about November 10, 2018, the Plaintiff was severely injured when

                                                                                           27 he fell on an unreasonably dangerous athletic court as he was participating in a game
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                                                                                           28                              Complaint and Demand for Jury Trial
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                                                                                                of Pickleball on the vessel.
                                                                                            1

                                                                                            2          16.    These conditions were either created by the Defendants and their

                                                                                            3 employees or had been in place for a sufficient period of time so that the Defendants

                                                                                            4
                                                                                                knew or should have known about them through the exercise of reasonable care.
                                                                                            5

                                                                                            6          17.    Alternatively, the Defendants and/or their employees, at all material
                                                                                            7 times, undertook to maintain the athletic court to ensure that passengers, including the

                                                                                            8
                                                                                                Plaintiff, could safely participate, and as previously stated, thereby acquired a duty to
                                                                                            9
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                                                                                           10 exercise reasonable care in those undertakings.
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                                                                                           11          18.    The dangerous nature of the athletic court was not open and obvious and
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                there were no warning signs present to alert the Plaintiff of the same.
                                                           MIAMI, FL 33131




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                                                                                           14          19.    Defendants, upon information and belief and at all times material, has
                                                                                           15 actual knowledge from prior experience on its vessels of similar incidents which often

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                                                                                                resulted in injuries.
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                                                                                           18          20.    As a result of the negligence of Defendants, their vessel and/or crew, the
                                                                                           19
                                                                                                Plaintiff suffered serious, permanent and debilitating injuries to his leg requiring
                                                                                           20
                                                                                                surgery.
                                                                                           21

                                                                                           22                               FIRST CAUSE OF ACTION
                                                                                                                        GENERAL MARITIME NEGLIGENCE
                                                                                           23

                                                                                           24          21.    Plaintiff hereby incorporates by reference, as though fully set forth
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                                                                                                herein, paragraphs 1 through 20, and alleges as follows:
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                                                                                                       22.    At all times material, Defendants owed the Plaintiff a non-delegable duty
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                                                                                           28                                  Complaint and Demand for Jury Trial
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                                                                                                to exercise reasonable care required of an ocean common carrier for the safety of a
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                                                                                            2 fare-paying passenger.

                                                                                            3         23.    Alternatively, at all material times, Defendants and/or their employees,
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                                                                                                engaged in certain affirmative undertakings, as hereafter alleged, and in doing so
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                                                                                            6 acquired a duty to exercise reasonable care in those undertakings.

                                                                                            7         24.    On or about November 10, 2018, the Defendants and/or their agents,
                                                                                            8
                                                                                                servants, joint venturers and/or employees, breached its duty to provide the Plaintiff
                                                                                            9
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                                                                                           10 with reasonable care under the circumstances.
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                                                                                           11         25.    On or about November 10, 2018, the Plaintiff was injured, due to the
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                fault and/or negligence of Defendants and/or their agents, servants, joint venturers
                                                           MIAMI, FL 33131




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                                                                                           14 and/or employees, as follows:

                                                                                           15         a.     Failure to provide its passengers, including the Plaintiff, with reasonable
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                                                                                                             care under the circumstances;
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                                                                                           18         b.     Failure to provide a reasonably safe place to participate in athletic
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                                                                                                             activities aboard the vessel;
                                                                                           20
                                                                                                      c.     Failure to warn the Plaintiff of the unreasonably dangerous nature of the
                                                                                           21

                                                                                           22                subject athletic court and/or flooring surface;
                                                                                           23
                                                                                                      d.     Failure to warn the Plaintiff of the risks and/or dangers associated with
                                                                                           24
                                                                                                             the unreasonably dangerous condition of the subject athletic court;
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                                                                                                      e.     Failure to maintain the area where the Plaintiff’s incident occurred in a

                                                                                           27                reasonably safe manner;
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                                                                                           28                                Complaint and Demand for Jury Trial
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                                                                                                    f.   Failure to maintain the area where the Plaintiff’s incident occurred free
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                                                                                            2            from unreasonably dangerous conditions and/or hazards;

                                                                                            3       g.   Failure to properly maintain and keep the athletic court in a reasonably
                                                                                            4
                                                                                                         safe condition for its passengers;
                                                                                            5

                                                                                            6       h.   Failure to properly monitor the athletic court area;
                                                                                            7       i.   Failure to routinely inspect the area on a reasonably timely basis;
                                                                                            8
                                                                                                    j.   Failure adequately inspect the area where the incident occurred for
                                                                                            9
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                                                                                           10            dangerous or hazardous conditions;
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                                                                                           11       k.   Failure to promulgate and/or enforce adequate policies and/or
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                         procedures with regard to detecting and preventing incidents, such as the
                                                           MIAMI, FL 33131




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                                                                                           14            Plaintiff’s, from occurring on its vessels, including but not limited to the
                                                                                           15            Regal Princess.
                                                                                           16
                                                                                                    l.   Failure to correct the dangerous and/or hazardous conditions of the
                                                                                           17

                                                                                           18            athletic court which caused the Plaintiff to suffer his incident;
                                                                                           19
                                                                                                    m.   Failure to eliminate or modify the dangerous and/or hazardous
                                                                                           20
                                                                                                         conditions of the athletic court which caused the Plaintiff to suffer his
                                                                                           21

                                                                                           22            incident;
                                                                                           23
                                                                                                    n.   Failure to properly train and instruct its employees/crewmembers to
                                                                                           24
                                                                                                         detect, report and remedy dangerous and/or hazardous conditions;
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                                                                                                    o.   Failure to ascertain the cause of prior similar accidents happening on any

                                                                                           27            of the Defendants’ vessels fleet wide so as to take adequate measures to
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                                                                                           28                              Complaint and Demand for Jury Trial
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                                                                                                            prevent their reoccurrence, and more particularly Plaintiff’s incident;
                                                                                            1

                                                                                            2               and/or all of which caused and/or contributed to the Plaintiff becoming

                                                                                            3               injured;
                                                                                            4
                                                                                                      p.    Failing to install proper and reasonable safeguards to prevent passengers
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                                                                                            6               from being injured while using the athletic court;
                                                                                            7         q.    Failure to warn the Plaintiff of the dangerous and/or hazardous condition
                                                                                            8
                                                                                                            posed to him;
                                                                                            9
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                                                                                           10         r.    Failure to follow industry standard, including but not limited to, ASTM
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                                                                                           11               standards in the construction and/or design of the athletic court; and/or
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                      s.    Other acts or omissions constituting a breach of the duty to use
                                                           MIAMI, FL 33131




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                                                                                           14               reasonable care under the circumstances which are revealed through
                                                                                           15               discovery.
                                                                                           16
                                                                                                      26.   At all material times, Defendants have exclusive custody and control of
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                                                                                           18 the above named vessel.
                                                                                           19
                                                                                                      27.   At all material times, Defendants negligently failed to determine,
                                                                                           20
                                                                                                eliminate, modify, correct, or warn the Plaintiff of the dangerous and hazardous
                                                                                           21

                                                                                           22 condition which resulted in his injuries. Defendants violated the International Safety

                                                                                           23
                                                                                                Management Code and failed to have a proper, adequate and safe Safety Management
                                                                                           24
                                                                                                System Manual and/or failed to properly implement the Safety Management System
                                                                                           25

                                                                                           26
                                                                                                Manual aboard the vessel. All of which caused the Plaintiff to be injured.

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                                                                                           28                               Complaint and Demand for Jury Trial
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                                                                                                      28.    Defendants knew of the foregoing conditions causing Plaintiff’s accident
                                                                                            1

                                                                                            2 and did not correct them, or the conditions existed for a sufficient length of time so

                                                                                            3 that Defendants in the exercise of reasonable care under the circumstances should

                                                                                            4
                                                                                                have learned of them and corrected them.
                                                                                            5

                                                                                            6         29.    As a result of the negligence of Defendants, the Plaintiff was injured
                                                                                            7 about plaintiff’s body and extremities, suffered physical pain, mental anguish, loss of

                                                                                            8
                                                                                                enjoyment of life, disability, disfigurement, aggravation of any previously existing
                                                                                            9
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                                                                                           10 conditions therefore, incurred medical expenses in the care and treatment of plaintiff’s
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                                                                                           11 injures and suffered physical handicap. The injuries are permanent and continuing in
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                           12
                                                                                                nature, and Plaintiff will suffer the losses and impairments in the future. In addition,
                                                           MIAMI, FL 33131




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                                                                                           14 Plaintiff lost the benefit of her vacation, cruise, and transportation costs.

                                                                                           15         WHEREFORE the Plaintiff demands judgment for all damages recoverable
                                                                                           16
                                                                                                under the law against the defendant and demands trial by jury.
                                                                                           17

                                                                                           18                                     Prayer for Relief
                                                                                           19
                                                                                                      WHEREFORE, the Plaintiff respectfully request the Court enter judgment in
                                                                                           20
                                                                                                her favor and against the Defendants as follow:
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                                                                                           22         1.     To enter judgment in favor of the Plaintiff against Defendants on all
                                                                                           23
                                                                                                             causes of action as alleged herein;
                                                                                           24
                                                                                                      2.     To award compensatory damages in the amount to be ascertained at trial;
                                                                                           25

                                                                                           26
                                                                                                      3.     To award costs of suit and attorney’s fees, as permitted by law;

                                                                                           27         4.     For prejudgment interest according to proof; and
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                                                                                           28                                Complaint and Demand for Jury Trial
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                                                                                                           5.   To enter such other and further relief as the Court deems just under the
                                                                                             1

                                                                                             2                  circumstances.

                                                                                             3

                                                                                             4                                              LIPCON MARGULIES ALSINA & WINKLEMAN
                                                                                             5 DATED: February 4, 2020.

                                                                                             6

                                                                                             7                                              BY: s/ Carol L. Finklehoffe
                                                                                             8                                                  CAROL L. FINKLEHOFFE
                                                                                                                                                Attorney for Plaintiff
                                                                                             9
LIPCON, MARGULIES, ALSINA & WINKLEMAN P.A.




                                                                                            10
                                                                                                                                  Demand for Jury Trial
                                             TELEPHONE: (305)373-3016 FAX: (305)373-6204




                                                                                            11
                                                  2 S Biscayne Boulevard, Suite 1776




                                                                                            12             Plaintiff EUGENE STREIM hereby demands a trial by jury on all claims for
                                                           MIAMI, FL 33131




                                                                                            13
                                                                                                 relief.
                                                                                            14

                                                                                            15
                                                                                                                                            LIPCON MARGULIES ALSINA & WINKLEMAN
                                                                                            16
                                                                                                 DATED: February 4, 2020.
                                                                                            17

                                                                                            18
                                                                                                                                            BY: s/ Carol L. Finklehoffe
                                                                                            19
                                                                                                                                                CAROL L. FINKLEHOFFE
                                                                                            20                                                  Attorney for Plaintiff
                                                                                            21

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                                                                                                                                                 10
                                                                                            28                                   Complaint and Demand for Jury Trial
